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6    Attorney for Defendant
     SHERRI PAPINI
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8                                 UNITED STATES DISTRICT COURT
9
                                EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,           )                 CASE NO. 22-CR-00070-WBS
                                         )
12
                       Plaintiff,        )                 DEFENDANT SHERRI PAPINI’S
13                                       )                 SENTENCING MEMORANDUM
                                         )
14                                       )                 DATE: September 19, 2022
     SHERRI PAPINI,                      )                 TIME: 9:00 a.m.
15
                                         )                 COURT: Hon. William B. Shubb
16                     Defendant.        )
     ____________________________________)
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18          Defense Counsel William J. Portanova hereby submits this memorandum in support of
19   defendant Sherri Papini’s request that the court follow the recommendation of the United States
20   Probation Office and sentence Sherri Papini to a term of eight months to be served as the
21   Probation Officer recommends, one month in custody and the remaining seven months to be
22   served under the strict terms and conditions of an intensely supervised period of home
23   detention. Such a sentence would appropriately address the crimes of the defendant, provide a
24   reasonable deterrent, and adequately serve the interests of justice in this unique case.
25          As the United States Presentence Investigation Report makes clear, Ms. Papini’s painful
26   early years twisted and froze her in myriad ways. Unschooled and unskilled in honest
27   communication, Ms. Papini lost her way early on. Home life and school were each a separate
28   challenge, as were her attempts at appropriate social interactions. Outwardly sweet and loving,

     DEFENDANT’S SENTENCING MEMORANDUM                1
1    yet capable of intense deceit, whether for purposes of situational control or emotional self-
2    protection, Ms. Papini’s chameleonic personalities drove her to simultaneously crave family
3    security and the freedom of youth. While these are not unique feelings, in her they were
4    pathological. Her life was painful until she married and began a family of her own. Yet after
5    several years, she persuaded herself to flee the security of her family in pursuit of a non-sensical
6    fantasy ultimately resulting in this awful case. Returning to her husband and family after three
7    weeks, in her mind, each lie demanded another lie. Her unsettled masochism was in full public
8    display when she returned from her fake kidnapping bearing the scars and wounds of her self-
9    inflicted penance.
10          Ms. Papini maintained the lie for years thereafter, terrified that she had actually
11   destroyed the one thing in her life that brought her true love and happiness, her family,
12   desperately praying that the day of discovery would never come. Once discovered, she lied
13   again until there was nowhere else to go but to admit the truth of the matter. That day of
14   reckoning has arrived, and anyone who cares to read about it knows the darkest depths of her
15   sickest mind. The most shameful part of her is now a matter of public discourse, and she sees
16   that knowledge every day in the eyes of most of the people she encounters. But the real pain is
17   knowing the hurt she has caused so many people, and that she must spend the rest of her life
18   trying to repair the damage she has done to her children.
19          Sherri’s years of denial are now undeniably over. Her name is now synonymous with
20   this awful hoax. There is no escaping it. There is only the hard work of moving forward,
21   however slowly, towards a balanced, open, and honest life. There seems to be little or no
22   chance for Sherri to go backwards now. The lies are out, the guilt admitted, the shame
23   universally seen.
24          It is hard to imagine a more brutal public revelation of a person’s broken inner self. At
25   this point, the punishment is already intense and feels like a life sentence.
26          The Probation Report recommends a sentence of eight months, seven of which
27   Probation recommends be served under terms and conditions of home detention, and one month
28   to be served in custody. The Probation Report is as thorough and detailed a Probation Report as

     DEFENDANT’S SENTENCING MEMORANDUM                 2
1    has been presented in this court, reporting in great detail the storm which is Sherri Papini’s
2    unusual life and problems. Of course, nothing in the Pre-Sentence Report is being argued here
3    as an excuse for Sherri’s crimes, but it certainly paints a useful mural of a woman in painful
4    transitions. Punishment is certainly due and this court has many options to fashion the
5    appropriate sentence for this offender. It is respectfully submitted that this defendant would be
6    more than adequately punished with the sentence as recommended by the United States
7    Probation Office.
8                                          CONCLUSION
9           For the foregoing reasons, the defense requests this court to follow the recommendation
10   of the United States Probation Office and sentence Sherri Papini to a term of no more than eight
11   months with one month in custody and seven months of home detention under appropriate terms
12   and conditions.
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     Dated: September 14, 2022                             Respectfully submitted,
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15                                                         /s/ William J. Portanova
                                                           __________________________________
16                                                         WILLIAM J. PORTANOVA
                                                           Attorney for Defendant
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                                                           SHERRI PAPINI
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     DEFENDANT’S SENTENCING MEMORANDUM                3
